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           EXHIBIT A
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 1                      IN THE UNITED STATES DISTRICT COURT
 2                          FOR THE DISTRICT OF ARIZONA

 3

 4    Erik Johnson, an individual,
                          Plaintiff,
 5
      v.
 6                                               No. 2:21-cv-00691-DLR
 7    Proctorio, Inc., a Delaware corporation,
                           Defendant.            AMENDMENT TO
 8                                               SCHEDULING ORDER
 9
10    Proctorio, Inc., a Delaware corporation,
                          Counterclaimant,
11

12    v.

13
      Erik Johnson, an individual,
14                       Counterdefendant.
15

16
            The Court, having reviewed the parties’ Stipulated Motion to Extend Deadline for
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     Completion of Fact Discovery in this case, and having concluded that good cause exists
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     to grant that Motion, the Court modifies Section 4 and 4(a) of the Scheduling Order,
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     issued on October 25, 2021, as follows:
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21
            4.     Deadline for Completion of Fact Discovery. The deadline for completing
22
     fact discovery, including all disclosure required under Rule 26(a)(3), shall be April 15,
23
     2022. To ensure compliance with this deadline, the following rules shall apply:
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                   a.     Depositions: All depositions shall be scheduled to be completed by
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     the Deadline for Completion of Fact Discovery.
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     Case 2:21-cv-00691-DLR Document 65-1 Filed 03/18/22 Page 3 of 3



 1       Dated this ____ day of ___________, 2022.
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 4
                                                The Hon. Douglas L. Rayes
 5                                              United States District Judge
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